   Case 23-01092-MBK                       Doc       Filed 04/15/23 Entered 04/16/23 00:16:22                                                Desc Imaged
                                                   Certificate of Notice Page 1 of 3


         UNITED STATES BANKRUPTCY COURT
         DISTRICT OF NEW JERSEY

         WOLLMUTH MAHER & DEUTSCH LLP
         Paul R. DeFilippo, Esq.                                                                      Order Filed on April 13, 2023
                                                                                                      by Clerk
         500 Fifth Avenue                                                                             U.S. Bankruptcy Court
         New York, New York 10110                                                                     District of New Jersey
         Telephone: (212) 382-3300
         Facsimile: (212) 382-0050
         pdefilippo@wmd-law.com

         JONES DAY
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         asrush@jonesday.com
         (Admissions pro hac vice pending)

         PROPOSED ATTORNEYS FOR DEBTOR
         In re:                                                                    Chapter 11

         LTL MANAGEMENT LLC, 1                                                     Case No.: 23-12825 (MBK)

                                                                                   Judge: Hon. Michael B. Kaplan
                                        Debtor.


                                                      ORDER FOR ADMISSION PRO HAC VICE

              The relief set forth on the following page is ORDERED.




DATED: April 13, 2023




     1   The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George Street, New Brunswick, New
         Jersey 08933.

                                                                          1
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          This matter having been brought before the Court on application for an Order For Admission
  Pro Hac Vice; and the Court having reviewed the moving papers of the applicant, out-of-state
  attorney, and considered this matter pursuant to Fed.R.Civ.Proc.78, D.N.J. L.Civ.R.101.1 and D.N.J.
  LBR 9010-1, and good cause having been shown; it is

          ORDERED that ____________David S. Torborg _____________________ be permitted to
  appear pro hac vice; provided that pursuant to D.N.J. L.Civ. R. 101.1(c)(4), an appearance as counsel
  of record shall be filed promptly by a member of the bar of this Court upon whom all notices, orders
  and pleadings may be served, and who shall promptly notify the out-of-state attorney of their
  receipt. Only an attorney at law of this Court may file papers, enter appearances for parties, sign
  stipulations, or sign and receive payments on judgments, decrees or orders, and it is further

          ORDERED that the applicant shall arrange with the New Jersey Lawyers' Fund for Client
  Protection for payment of the annual fee, for this year and for any year in which the out-of-state attorney
  continues to represent a client in a matter pending in this Court in accordance with New Jersey Court Rule
  1:28-2 and D.N.J. L. Civ. R. 101.1, said fee to be deposited within twenty (20) days of the date of the
  entry of this Order, and it is further

          ORDERED that the $150.00 fee required by D.N.J. L. Civ. R. 101(c)(3) for pro hac vice
  admission to the District Court for the District of New Jersey shall also be payable within twenty (20)
  days of entry of this Order. Payment in the form of a check must be payable to "Clerk, USDC" and
  forwarded to the Clerk of the United States District Court for the District of New
  Jersey at the following address:

                                           United States District Court
                                              District of New Jersey
                                     Martin Luther King, Jr. Federal Building
                                                50 Walnut Street
                                               Newark, N.J. 07102
                                      Attention: Pro Hac Vice Admissions

          and it is further ORDERED that the applicant shall be bound by the Local Rules of the United
  States District Court for the District of New Jersey and the Local Rules of Bankruptcy Procedure for
  the District of New Jersey; and it is further

          ORDERED that the Clerk shall forward a copy of this Order to the Treasurer of New Jersey
  Lawyers' Fund for Client Protection within 5 days of its date of entry.




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        Case 23-01092-MBK                      Doc       Filed 04/15/23 Entered 04/16/23 00:16:22                                      Desc Imaged
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                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 23-12825-MBK
LTL Management LLC                                                                                                     Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0312-3                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: Apr 13, 2023                                               Form ID: pdf903                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Apr 15, 2023:
NONE
Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
db                     + Email/Text: jkim8@its.jnj.com
                                                                                        Apr 13 2023 20:56:00      LTL Management LLC, 501 George Street, New
                                                                                                                  Brunswick, NJ 08933-0001

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Apr 15, 2023                                            Signature:           /s/Gustava Winters
